    Case: 1:24-cv-00837 Document #: 31 Filed: 03/12/24 Page 1 of 2 PageID #:552


                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   RICHARD HENDRIK BEERHORST,

           Plaintiff,                                             Case No.: 1:24-cv-00837

   v.                                                             Judge Lindsay C. Jenkins

   THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Jeffrey Cole
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 12                                       Volksea
                 38                                    Luckin Tin Sign


DATED: March 12, 2024                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     33 W. Jackson Blvd., #2W
                                                     Chicago, Illinois 60604
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                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-00837 Document #: 31 Filed: 03/12/24 Page 2 of 2 PageID #:553


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 12, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
